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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                         Case No. 4:12-cr-00180-BLW

                      Plaintiff,
                                                   ORDER CONTINUING TRIAL
        v.                                         AND TRIAL READINESS
                                                   CONFERENCE
 ALLEN W. NAGEL, et al.,

                      Defendants.


       Defendants Allen Nagel, Joshua Becker, Gary Nagel, Stephanie Nagel and Joshua

Cserepes were arraigned on a Superseding Indictment on September 6, 2012. Trial is

currently set for September 17, 2012. Co-defendant Shyloh Becker was added as a new

defendant in the Superseding Indictment, and is scheduled to be arraigned on September

27, 2012. The speedy trial clock involving multiple defendants begins to run with the

most recently added defendant. U.S. v. King, 483 F.3d 969, 972-74 (9th Cir. 2007).

       Moreover, trial for a defendant shall not commence less than thirty days from the

date on which the defendant first appears through counsel or expressly waives counsel

and elects to proceed pro se. 18 U.S.C. § 3161(c)(2). Thus, Shyloh Becker’s trial cannot

commence before October 27, 2012. Additionally, Under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(6), excludable time exists for “a reasonable period of delay when the defendant

is joined for trial with a co-defendant as to whom the time for trial has not run and no

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motion for severance has been granted.” No motion for severance has been filed.

Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the present trial date for all

defendants be VACATED, and that a new trial be set for November 5, 2012 at 1:30 p.m.

in the U.S. Courthouse in Pocatello, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(c)(2) and (h)(6), and U.S. v. King, 483 F.3d 969, 972-74 (9th Cir. 2007).

      IT IS FURTHER ORDERED that the current trial readiness conference for

Defendant Sanchez be VACATED, and that a new trial readiness conference be

conducted by telephone on October 24, 2012 at 4:00 p.m. The Government shall place

the call to (208) 334-9145 with opposing counsel on the line.



                                         DATED: September 7, 2012



                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge




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